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JOHN H. CHOI
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                                               September 16, 2022


Clerk of the Court
U.S. District Court, D.N.J.
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07102

       Re:     K9 Sport Sack, LLC v. Little Chonk Company,
               2:22-cv-05120-ES-CLW (D.N.J.)


Dear Sir/Madam:

        Our firm represents Plaintiff K9 Sport Sack, LLC in this matter and we write to request that
this case not be designated for compulsory arbitration pursuant to Local Rule 201.01.

       The Complaint in this action was filed on August 19, 2022 and Defendant Little Chonk
Company’s response to the Complaint in currently due on October 12, 2022. As stated in the
Complaint, Plaintiff seeks damages in amounts to be proven at trial and believes that recoverable
damages exceed $150,000, exclusive of interest and costs and any claim for punitive damages.
Therefore, Plaintiff respectfully requests that this case not be designated for compulsory arbitration.

       Thank you for your attention to this matter and please let us know if you have any
questions.


                                               Sincerely yours,

                                               /John H. Choi/

                                               John H. Choi


cc:    Evan M. Lazerowitz, Esq. (via email - elazerowitz@cooley.com)
